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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              ANDERSON DIVISION

 John Doe,                                           CASE NO. 8:16-cv-01957-BHH

                              Plaintiff,

 v.

 Clemson University, Clemson University             PLAINTIFF JOHN DOE’S STATUS
 Board of Trustees, James P. Clements,             REPORT REGARDING MOTION TO
 individually and as agent for Clemson             COMPEL CHRYSTAL ANDERSON’S
 University, Alesia Smith, individually and as        RESPONSE TO SUBPOENA
 agent for Clemson University, Suzanne                      DUCES TECUM
 Price, individually and as agent for Clemson
 University, Loreto Jackson, individually and
 as agent for Clemson University, and David
 Frock, individually and as agent for
 Clemson University

                               Defendants.



       On January 23, 2018, the Court issued an Order granting in part and denying in

part Plaintiff’s Motion to Compel Chrystal Anderson’s Response to Subpoena Duces

Tecum and Jane Doe’s Motion to Quash John Doe’s Subpoena to Chrystal Anderson.

The Court directed Ms. Anderson to produce communications between herself and Jane

Doe or Charles Doe that “do not relate to Jane Doe’s therapy.” The Court further ordered

that, if such communications do not exist, Ms. Anderson was directed to “clearly inform

the Court that she does not have these documents in a supplemental affidavit.”

       On January 25, 2018, counsel for John Doe notified Ms. Anderson of the Order via

correspondence. On February 9, 2018, counsel for John Doe sent Ms. Anderson an e-

mail to ensure that she had received a copy of the Order. On February 20, 2018, counsel

for John Doe sent Ms. Anderson another e-mail regarding this issue because she had yet
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responded to any of the previous correspondence or communications. On February 20,

2018, Ms. Anderson responded by providing an Affidavit, which is attached hereto as

Exhibit A.

       The Affidavit of Chrystal Anderson states that Ms. Anderson is not in possession

of any communications between herself and Jane Doe or Charles Doe “that do not relate

to Jane Doe’s therapy.”




                                  CLAWSON FARGNOLI, LLC


                                  s/ Christy R. Fargnoli
                                  Samuel R. Clawson, Jr. (#11850)
                                  Christy R. Fargnoli (#10364)
                                  474 King Street, Suite D
                                  Charleston, South Carolina 29403
                                  Phone: (843) 970-2700
                                  Fax:     (843) 970-1780
                                  Email: sam@clawsonfargnoli.com
                                         christy@clawsonfargnoli.com


                                  Attorneys for Plaintiff


Charleston, South Carolina
February 23, 2018
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                         THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                ANDERSON DIVISION
                              C/A No. 8:16-CV-01957-BHH

John Doe,
                                          Plaintifl
vs.

Clemson University, Clemson University
Board of Trustees, James P. Clements,
individually and as agent for Clemson
University, Almeda Jacks, individually and as                 SUPPLEMENTAL AFFIDAVIT OF
agent of Clemson University, Alesia Smith,                       CHRYSTAL ANDERSON
individually and       as agent of   Clemson
University, Suzanne Price, individually and as
agent of Clemson University, Loreto Jackson,
individually and       as
                        agent      of Clemson
University, David Frock, individually and        as
agent of Clemson University,
                                    Defendants.

         PERSONALLY APPEARED BEFORE ME, the undersigned, who after being duly

sworll, deposes and says:

         1.    My name is Chrystal Anderson. I am over the age of eighteen (18) years and

provide this Affidavit of my own personal knowledge.

         2.    I received a copy of the Court's Order dated January 23,2018 and filed                  as Entry


Number 71 in this lawsuit.

         3.    I   am not in possession   of any communications between myself and Jane Doe or

Charles Doe, individually or together, whether made during my emplol'ment with Clemson

University or after my employment ended, that do not relate to Jane Doe's therapy. The

pseudonyms "Jane Doe" and "Charles Doe" refer to the male and female, respectively, identified

in the May 2017 subpoena, which is filed as Entry Number         5   1   -   1 in   this lawsuit.

                                    ISignature Page to Follow]


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